Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 1 of 13 Page ID #:77


                                                                                                  FILED
                                                                                       CLERK: U.S. DISTRICT COURT
    11 JASON ANAYA
       5566 San Juan Way
   f►] Pleasanton, CA 94566                                                               DEC 2 $ 2~8
   3   Defendant in Pro Per                                                                          OF CALIFORNIA
                                                                                  BY

   4
                                     UNITED STATES DISTRICT COURT
   5
                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   6
                                              CENTRAL DIVISION
   7

   8

   9    UNITED STATES OF AMERICA                              CASE NO.: SACV 18-01175CJC (KES)

 10                    Plaintiff,                            ANSWER TO PLAINTIFF' S COMPLAINT
                                                             AND CROSS -CLAIM AGAINST
 11     v.                                                   TANNERITE, JKM SHELLS, AND ROES
                                                             1 to10
 12     KENNETH FRANCO, VALEN ANAYA,
        JASON ANAYA, TANNERITE, JKM
 13     SHELLS, and Does 1 to 10,                            Demandfor Jury Trial

 14                    Defendants.

 15
        JASON ANAYA,
 16
                       Cross-claimant,
 17
        v.
 18
        TANNERITE, JKM SHELLS and Roes 1 to
 19     10,

 20

 21                    Cross-defendants

 22

 23           COMES NOW Defendant, JASON ANAYA, and in answer to the Complaint of Plaintiff

 24    UNITED STATES OF AMERICA, responds as follows:

 25                                                  ANSWER                                                          ~

 26                                                  PARTIES

 27           1.      In response to Paragraph 1 of Plaintiff s Complaint on file herein, Defendant states that

 28    he lacks sufficient knowledge to admit or deny the allegations contained therein, and therefore denies

       H:\Anaya\ans-jason.pld.wpd                        1
       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 2 of 13 Page ID #:78



   1   the same.

   2          2.      In response to Paragraph 2ofPlaintiffs Complaint on file herein,Defendant denies that

   3   allegations therein as it relates to himself. Defendant states that he is without sufficient knowledge

   4   to admit or deny the balance of the allegations contained therein.

   5          3.      In response to Paragraph 3 of Plaintiffs Complaint on file herein, Defendant believes

   6   the allegations contained therein to be true.

   7          4.      In response to Paragraph 4 ofPlaintiffs Complaint on file herein, Defendant believes

   8   the allegations contained therein to be true.

   9                                       JURISDICTION AND VENUE

 10           5.      In response to Paragraph 5 ofPlaintiffs Complaint on file herein,Defendant states that

 11    said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent said

 12    paragraphs contain issues of fact, this answering defendant denies any and all such allegations.

 13           6.      In response to Paragraph 6 ofPlaintiffs Complaint on file herein,Defendant states that

 14    said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent said

 15    paragraphs contain issues of fact, this answering defendant denies any and all such allegations.

 16           7.      In response to Paragraph 7 ofPlaintiffs Complaint on file herein, Defendant states that

 17    said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent said

 18    paragraphs contain issues of fact, this answering defendant denies any and all such allegations.

 19                                        GENERAL ALLEGATIONS

 20           8.      In response to Paragraph 8 of Plaintiffs Complaint on file herein, Defendant admits

 21 ~ the allegations contained therein.

 22           9.      In response to Paragraph 9 ofPlaintiffs Complaint on file herein,Defendant states that

 23 said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent said

 24    paragraphs contain issues offact, this answering Defendant asserts the rights afforded to him by the

 25    Fifth Amendment to the U.S. Constitution.

 26           10.     In response to Paragraph 10 of Plaintiffs Complaint on file herein, Defendant states

 27    that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

 28    said paragraphs contain issues offact, this answering Defendant asserts the rights afforded to him by

       H:\Anaya\ans-jason.pld.wpd                        2
       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 3 of 13 Page ID #:79



   1   the Fifth Amendment to the U.S. Constitution.

   2           1 1.   In response to Paragraph 11 of Plaintiffs Complaint on file herein, Defendant states

   3 that said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent

   4   said paragraphs contain issues offact, this answering Defendant asserts the rights afforded to him by

   5 ~ the Fifth Amendment to the U.S. Constitution.

   6           12.    In response to Paragraph 12 of Plaintiffs Complaint on file herein, Defendant states

   7   that a response to this paragraph requires a legal conclusion,and Defendant lacks sufficient knowledge

   8   and information to admit or deny the allegations contained therein. To the extent that a response is

   9   deemed necessary, Defendant denies the allegations contained therein.

 10            13.    In response to Paragraph 13 of Plaintiffs Complaint on file herein, Defendant states

 11    that said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent

 12 said paragraphs contain issues offact, this answering Defendant asserts the rights afforded to him by

 13 the Fifth Amendment to the U.S. Constitution.

 14            14.    In response to Paragraph 14 of Plaintiffs Complaint on file herein, Defendant states

 15    that he lacks sufficient knowledge or information to admit or deny the allegations contained therein.

 16            15.    In response to Paragraph 15 of Plaintiffs Complaint on file herein, Defendant states

 17    that he lacks sufficient knowledge or information to admit or deny the allegations contained therein.

 18            16.    In response to Paragraph 16 of Plaintiffs Complaint on file herein, Defendant states

 19 that a response to this paragraph requires a legal conclusion,and Defendant lacks sufficient knowledge

 20    and information to admit or deny the allegations contained therein. To the extent that a response is

 21    deemed necessary, Defendant denies the allegations contained therein.

 22            17.    In response to Paragraph 17 of Plaintiffs Complaint on file herein, Defendant admits

 23    the allegations as they relate to answering Defendant, and states that he is without sufficient

 24    knowledge or information upon which to admit or deny the balance of the allegations contained

 25 therein.

 26           18.     In response to Paragraph 18 of Plaintiffs Complaint on file herein, Defendant states

 27    that a response to this paragraph requires a legal conclusion,and Defendant lacks sufficient knowledge

 28    and information to admit or deny the allegations contained therein. To the extent that a response is

       H:\Anaya\ans-jason.pld.wpd                        3
       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 4 of 13 Page ID #:80



   1     deemed necessary, Defendant asserts the rights afforded to him by the Fifth Amendment to the U.S.

   2' Constitution.

   31~                                          CLAIMS FOR RELIEF

   4                                             First Claim for Relief

   5                                   (Negligence -Against All Defendants)

   6             19.     In response to Paragraph 19 of Plaintiffs Complaint on file herein, this answering

   7     Defendant incorporates by reference his response to Paragraphs 1-18 as though fully and completely

   8     set forth herein.

   9            20.      In response to Paragraph 20 of Plaintiffs Complaint on file herein, this answering

 10      Defendant is informed and believes that Tannerite and JMK Shells had the duty to design,

 11      manufacture, produce, inspect and supply a target that was safe, could safely be used as a target and

 12      could withstand impact with a bullet without exploding and igniting a fire. In response to the balance

 13      of the allegations in this paragraph, Defendant states that said paragraph contains issues of law, not

 14      fact, and therefore no answer is required. To the extent said paragraphs contain issues of fact, this

 15      answering Defendant asserts the rights afforded to him by the Fifth Amendment to the U.S.

 16      Constitution.

 17             21.      In response to Paragraph 21 of Plaintiffs Complaint on file herein, this answering

 18      Defendant is informed and believes that the allegations against Tannerite and JMK Shells are true.

 19             22.      In response to Paragraph 22 of Plaintiffs Complaint on file herein, Defendant states

 20      that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

 21      said paragraphs contain issues offact, this answering Defendant asserts the rights afforded to him by

 22      the Fifth Amendment to the U.S. Constitution.

 23             23.      In response to Paragraph 23 of Plaintiffs Complaint on file herein, Defendant asserts

 24      that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

 25      said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 26      as they pertain to this answering Defendant.

 27             24.      In response to Paragraph 24 of Plaintiffs Complaint on file herein, Defendant asserts

 28      that said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent

         H:\Anaya\ans-jason.pld.wpd             4
         DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 5 of 13 Page ID #:81



   1     said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

   2 as they pertain to this answering Defendant.

   3             25.     In response to Paragraph 25 of Plaintiffs Complaint on file herein, Defendant asserts

   4     that said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent

   5     said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

   6     as they pertain to this answering Defendant.

                 26.     In response to Paragraph 26 of Plaintiffs Complaint on file herein, Defendant asserts

   8     that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

   9     said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 10 ~ as they pertain to this answering Defendant.

 11              27.     In response to Paragraph 27 of Plaintiffs Complaint on file herein, Defendant asserts

 12      that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

 13 said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 14      as they pertain to this answering Defendant.

 15 ~.           28.    In response to Paragraph 28 of Plaintiffs Complaint on file herein, Defendant asserts

 16 that said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent

 17      said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 18      as they pertain to this answering Defendant.

 19                                            Second Claim for Relief

 20                          (Cal. Public Resources Code §4435 -Against Defendants

 21                                Kenneth Franco, Valen Anaya and Jason Anaya)

 22             29.     In response to Paragraph 29 of Plaintiffs Complaint on file herein, this answering

 23 Defendant incorporates by reference his response to Paragraphs 1-28 as though fully and completely

 29      set forth herein.

 25             30.     In response to Paragraph 28 of Plaintiffs Complaint on file herein, Defendant asserts

 26      that said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent

 27      said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 28      as they pertain to this answering Defendant.

         H:\Anaya\ans-jason.pld.wpd                        5
         DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 6 of 13 Page ID #:82



                31.    In response to Paragraph 31 ofPlaintiffs Complaint on file herein, Defendant asserts

        that said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent

        said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

       ~ as they pertain to this answering Defendant.

                                               Third Claim for Relief

   6                        (Cal. Health &Safety Code §§13001, 13007-13009.1, and

   7                            California Civil Code §3287 -Against Defendants)

   8            32.    In response to Paragraph 32 of Plaintiffs Complaint on file herein, this answering

   9 Defendant incorporates by reference his response to Paragraphs 1-31 as though fully and completely

 10     set forth herein.

 11             33.    In response to Paragraph 33 ofPlaintiffs Complaint on file herein, Defendant asserts

 12 that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

 13 said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 14     as they pertain to this answering Defendant.

 15             34.    In response to Paragraph 34 of Plaintiffs Complaint on file herein, Defendant asserts

 16 that said paragraph contains issues oflaw,not fact, and therefore no answer is required. To the extent

 17     said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 18     as they pertain to this answering Defendant.

 19                                            Fourth Claim for Relief

 20                                  (Trespass by Fire -Against Defendants)

 21             35.    In response to Paragraph 35 of Plaintiffs Complaint on file herein, this answering

 22     Defendant incorporates by reference his response to Paragraphs 1-34 as though fully and completely

 23 set forth herein.

 24             36.    In response to Paragraph 36 of Plaintiffs Complaint on file herein, Defendant asserts

 25     that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

 26     said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 27     as they pertain to this answering Defendant.

 28             37.    This answering Defendant is without knowledge or information sufficient to forma

        H:\Anaya\ans-jason.pld.wpd                        6
        DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 7 of 13 Page ID #:83




   1   belief as to the truth of the allegations contained in Paragraph 37 of Plaintiffs Complaint, and

   2   therefore denies the same.

   3           38.      In response to Paragraph 38 of Plaintiffs Complaint on file herein, Defendant asserts

   4   that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

   5   said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

   6   as they pertain to this answering Defendant.

   7                                           Fifth Claim for Relief

   8                 (Strict Products Liability -Against Defendants Tannerite and JMK Shells)

   9           39.      In response to Paragraph 39 of Plaintiffs Complaint on file herein, this answering

 10    Defendant incorporates by reference his response to Paragraphs 1-38 as though fully and completely

 11    set forth herein.

 12           40.       Paragraph 40 ofPlaintiffs Complaint does not contain allegations against Answering

 13 Defendant, and therefore no response is required.

 14           41.       Paragraph 41 ofPlaintiffs Complaint does not contain allegations against Answering

 15    Defendant, and therefore no response is required.

 16           42.       Paragraph 42 ofPlaintiffs Complaint does not contain allegations against Answering

 17    Defendant, and therefore no response is required.

 18           43.       Paragraph 43 ofPlaintiffs Complaint does not contain allegations against Answering

 19    Defendant, and therefore no response is required.

 20           44.       Paragraph 44 ofPlaintiffs Complaint does not contain allegations against Answering

 21    Defendant, and therefore no response is required.

 22                                            Sixth Claim for Relief

 23             (Breach of Express Warranty -Against Defendants Tannerite and JMK Shells)

 24           45.       In response to Paragraph 45 of Plaintiffs Complaint on file herein, this answering

 25    Defendant incorporates by reference his response to Paragraphs 1-44 as though fully and completely

 26    set forth herein.

 27           46.       Paragraph 46 ofPlaintiffs Complaint does not contain allegations against Answering

 28 ~ Defendant, and therefore no response is required.

       H:\Anaya\ans-jason.pld.wpd                         7
       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 8 of 13 Page ID #:84



   1              47.    Paragraph 47 ofPlaintiffs Complaint does not contain allegations against Answering

   2 ~ Defendant, and therefore no response is required.

   3                                             Seventh Claim for Relief

   4                                   (Interest and Penalties -Against Defendants)

   5 '~          48.     In response to Paragraph 48 of Plaintiffs Complaint on file herein, this answering

   6      Defendant incorporates by reference his response to Paragraphs 1-47 as though fully and completely

   7      set forth herein.

   8             49.     In response to Paragraph 49 of Plaintiffs Complaint on file herein, Defendant asserts

   9      that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

 10       said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 11       as they pertain to this answering Defendant.

 12              50.     In response to Paragraph 50 of Plaintiffs Complaint on file herein, Defendant asserts

 13       that said paragraph contains issues oflaw, not fact, and therefore no answer is required. To the extent

 14       said paragraphs contain issues of fact, this answering defendant denies any and all such allegations

 15       as they pertain to this answering Defendant.

 16                                           AFFIRMATIVE DEFENSES

 17                                        FIRST AFFIRMATIVE DEFENSE

 18              Plaintiffs complaint fails to state a claim upon which relief can be granted.

 19                                      SECOND AFFIRMATIVE DEFENSE

 20              The occurrence referred to in plaintiffs complaint, and all damages,if any, arising therefrom,

 21       were caused by the acts or omissions ofa third person, persons, or entities over whom this answering

 22       defendant had no control.

 23                                       THIRD AFFIRMATIVE DEFENSE

 24              At all times and places alleged in Plaintiffs Complaint, the negligence, misconduct and fault

 25       of the plaintiff exceeds that of this answering defendant, if any, and plaintiff is thereby barred from

 26       any recovery against this answering defendant, or alternatively, plaintiffs claims are reduced by its

 27       applicable percentage of fault if not exceeding this answering defendant's fault.

 28                                      FOURTH AFFIRMATIVE DEFENSE

          H:\Anaya\ans-jason.pld.wpd                        8
          DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 9 of 13 Page ID #:85



   1           Plaintiff failed to mitigate its damages.

   2                                   FIFTH AFFIRMATIVE DEFENSE

   3           Plaintiffs complaint is barred by the applicable Doctrine of Laches.

   4                                  SIXTH AFFIRMATIVE DEFENSE

   5           Plaintiffs complaint is barred by the applicable statutes of limitations.

   6                                SEVENTH AFFIRMATIVE DEFENSE

   7           The damages, if any, to plaintiff were, as alleged in the complaint, proximately caused by a

   8   new,independent,and efficient intervening cause and not by any alleged negligence on the part ofthis

   9   answering defendant.

 10.                                 EIGHTH AFFIRMATIVE DEFENSE

 11            That at all times and places referenced in plaintiffs complaint,the damages to plaintiff, ifany,

 12    as set forth in the complaint, were caused in whole or in part for the lack of want of care on the part

 13 ~ of plaintiff.

 14                                   NINTH AFFIRMATIVE DEFENSE

 15            That at all times and places referenced in plaintiffs complaint,the damages to plaintiff, ifany,

 16 as set forth in the complaint, were caused in whole or in part for the lack of want of care on the part

 17    of plaintiff.

 18                                   TENTH AFFIRMATIVE DEFENSE

 19            All possible affirmative defenses may not have been alleged herein insofar as sufficient facts

 20    were not available after reasonable inquiry upon the filing of defendant's answer to complaint, and

 21    therefore, this answering defendant reserves the right to amend his answer to the complaint to allege 'I

 22    additional affirmative defenses if subsequent investigation so warrants.

 23                                          CROSS-COMPLAINT

 24            COMES NOW defendant/cross-complainant, Jason Anaya, in Proper Person, and for his

 25    causes of action against cross-defendants TANNERITE, JKM SHELLS, ROES 1 to 10, inclusive,

 26 complaints and alleges:

 27            1.      Defendant/cross-complainant, Jason Anaya, at all times relevant herein, is and was a

 28    resident of the Northern District of California.

       H:\Anaya\ans-jason.pld.wpd                          9
       DEFE1vDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 10 of 13 Page ID #:86



               2.      Upon information and belief, at all times relevant herein, cross-defendant Tannerite

       is a business entity of unknown organization, headquartered in Oregon, and doing business in

       California and in the Central District ofCalifornia. On information and belief, Defendant JKM Shells

       is a business entity ofunknown organization, headquartered in Idaho,and doing business in California

       and in the Central District of California. Roe Defendants 1 to 10 are individuals and entities whose

       identity is currently not known and therefore sue said cross-defendants by such fictitious names and

       pray for leave to amend this cross-complaint when their true names and capacities have been

   8   ascertained.

   9

  10                                      FIRST CAUSE OF ACTION

  11                         Comparative Negligence -Against all Cross-defendants

  12           3.      Cross-complainant incorporates by reference Paragraphs 1 -2 of his cross-complaint

  13 ~ as though completely set forth herein.

  14           4.      Cross-complainants do not know the true names ofcross-defendants,ROES 1 through

  15    10, inclusive, and therefore sue said cross-defendants by such fictitious names and pray for leave to

  16   amend this cross-complaint when their true names and capacities have been ascertained.

  17           5.      Cross-complainants are informed and believe and on such information and belief,

  18   allege that each of the cross-defendants herein are responsible directly or vicariously for the events

  19   and happenings referenced in Plaintiffs complaint, and caused or are responsible for the damages

  20   sustained by plaintiff.

  21           6.      Cross-complainant is informed and believes and therefore alleges that at all times

  22 ~ herein mentioned, each of the cross-defendants, named and fictitious, were the agents and/or

  23 employees of all the other cross-defendants and were acting within the scope of said agency and/or

  24   employment.

  25           7.     Cross-complainants incorporate herein by reference the complaint filed by Plaintiff.

  26   Said complaint is incorporated herein by reference and has the same force and effect as if set forth

  27   herein in full. However, Defendant/Cross-complainant expressly denies the allegations of the

  28 'i complaint as they relate to answering Defendant as set forth in his Answer.

       H:\Anaya\ans-jason.pld.wpd                       10
       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 11 of 13 Page ID #:87



   1           8.      Cross-complainants at all times deny any and all liability in connection with the action

   2   in chief, but in the event plaintiff establishes liability in connection with the action in chief, cross-

   3 complainant alleges that such liability exists, if at all, only as a direct and proximate result ofthe acts,

   4   omissions, breaches of contract and negligence ofcross-defendants, and each of them.

   5           9.      Cross-complainants are entitled as a matter of law to judicial determination,

   6   apportioning and affixing the comparative negligence of each cross-defendants for any damages

   7   awarded to plaintiffs in this action.

   8           10.     An actual controversy exists between cross-complainant and cross-defendants,and each

   9   ofthem,as to the rights ofindemnity and comparison of negligence owing to cross-complainants by

  10   cross-defendants and that cross-complainants contend an indemnity obligation exists. Multiplicity

  11   of actions will be avoided by resolution of this cross-complaint and the same action as that filed by

  12   plaintiffs.

  13           WHEREFORE,cross-complainant prays for relief as hereinafter set forth.

  14                                     SECOND CAUSE OF ACTION

  15                                           Equitable Indemnity

  16           1 1.    Cross-complainant realleges and reincorporates herein by reference each and every

  17   allegation set forth in paragraphs 1 through 10 as though fully set forth herein.

  18           12.     Cross-complainant is informed and believes and thereon alleges that if cross-

  19 complainant is found to be liable for the damages, if any, allegedly sustained by plaintiff, cross-

  20   defendants, and each ofthem herein, have an equitable duty to indemnify cross-complainant because

  21   of the active and primary nature of the conduct ofcross-defendants, and each ofthem, as contrasted

  22   with the passive and secondary nature of the conduct ofcross-complainant.

  23           13.    Accordingly, cross-defendants, and each of them, are required by law to hold cross-

  24   complainants harmless and to indemnify them for the amount ofanyjudgment or settlement they may

  25   be compelled to pay and for cross-complainants' expenses, costs or suit, attorneys' fees, and other

  26   damages which cross-complainants incur as a result of this action.

  27           14.    An actual controversy exists between cross-complainant and cross-defendants,and each

  28   of them, under the circumstances alleged above. Cross-complainant contends that the cross-

       H:\Anaya\ans-jason.pld.wpd                         11
       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 12 of 13 Page ID #:88



   1   defendants are obligated to hold them harmless and reimburse them for any judgment or settlements

   2 and expenses, costs of suit, attorneys' fees, and other damages incurred. Cross-complainant is

   3 informed and believes and thereon alleges that cross-defendants,and each ofthem,deny that they have

   4   this obligation. Multiplicity of actions will be avoided by resolution ofthis cross-complaint and the

   51 same action as that filed by plaintiff.

   6           WHEREFORE,cross-complainant prays for relief as hereinafter set forth.

   7                                      THIRD CAUSE OF ACTION

   8                                               Contribution

   9           15.    Cross-complainant realleges and reincorporate herein by reference each and every

  10   allegation set forth in paragraphs 1 through 14 as though fully set forth herein.

  11           16.    Cross-defendants acts and/or omissions were entirely or partly responsible for

  12 Plaintiffs damages, if any.

  13           17.    If Cross-complainant is found liable for any amounts, sums,attorneys' fees and costs,

  14   damages or any other relief, or payment is made by Cross-complainant to Plaintiff arising out of the

  15   subject Rock Fire,then Cross-complainant is entitled to contribution from cross-defendants, and each

  16   of them, in a percentage equal to each of cross-defendants fault, whether that fault is related to

  17   products liability or negligence claims.

  18           18.    As a direct and proximate result of the actions, conduct and/or omissions of cross-

  19 defendants, and each ofthem,Cross-complainant has suffered damages and is entitled to contribution

  20 for the amount of any judgment or settlement they may be compelled to pay and for cross-

  21   complainants' expenses, costs or suit, attorneys' fees, and other damages which cross-complainants

  22 incur as a result of this action.

  23                                         PRAYER FOR RELIEF

  24           WHEREFORE, Cross-complainant prays for judgment as follows:

  25           1.     Plaintiff takes nothing by reason of its complaint on file herein;

  26          2.      That the same be dismissed with prejudice;

  27          3.      General and special damages against cross-defendants in an amount to be determined

  28                  at trial, or by the court;

       H:\Anaya\ans-jason.pld.wpd                       12
       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
Case 8:18-cv-01175-CJC-KES Document 26 Filed 12/28/18 Page 13 of 13 Page ID #:89



   1          4.      Pre and Post Judgment interest;

   2          5.      All costs incurred;

   3          6.      Attorneys' fees, if any; and

   4          7.      All such further relief as the Court deems necessary, proper and appropriate.

   5

   6          Certification and Closing

   7          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

   8   knowledge, information, and belief that this answer: (1) is not being presented for an improper

   9   purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;(2)

  10   is supported by existing law or by a nonfrivolous argument for extending, modifying, or reversing

  11   existing law;(3)the factual contentions have evidentiary support or, if specifically so identified, will

  12   likely have evidentiary support after a reasonable opportunity for further investigation or discovery;

  13   and (4)the answer otherwise complies with the requirements of Rule 11.

  14          I agree to provide the Clerk's Office with any changes to my address where case-related papers

  15   may be served. I understand that my failure to keep a current address on file with the Clerk's Office

  16   may result in the dismissal of my case.

  17          DATED: December ~~ , 2018

  18

  19                                                  By•
                                                              JA        NAYA
  20                                                                dant In Pro Per

  21

  22

  23

  24

  25

  26

  27

  28

       H:\Anaya\ans-jason.pld.wpd                        13
       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
